CaSe 1217-CV-OOJ_25-JTN-ESC ECF NO. 54-6 filed 04/19/18 Page|D.?lS Page 1 Of 2

EXHIBIT E

 

CaSe lil7-CV-OOl25-.]TN-ESC ECF NO. 54;6§,,fi|€d 04/19/18 Page|D.7l4 Page 2 Of 2

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FRUiTPORT TOWNSH!P POL|CE DEPARTMENT
COMPLAINT RECE!PT FORM:
ClTlZEN' l OUTS|DE AGENCY CQMPLA|NTS

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This Depanmem adheres to the poiicy of investigating atl aliegations of misconduct or complaints regarding
the policies or procedures of the Department. The goal of the Department is to ensure that objectivity,
fairness, and justice are assured by intensive impartiai investigation and review.

Unie_s,s the oompiaint and-allegation is of such magnitude that it requires additional timely ali compiaints witt be
resoived in a prompt and timeiy fashion as soon as practicable upon receipt of the initial complaint During the

course of an investigation, the Chief of Police o'r his designee shail notify you concerning the status of the
complaint The Cnie$ of Poiic:e wiii notify yo_u of the finding of the investigation conducted by the,Department.

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